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 UNITED STATES DISTRICT COURT
 FOR THE WESTERN DISTRICT OF NEW YORK


  BLACK LOVE RESISTS IN THE RUST, et al.,
  individually and on behalf of a class of all others
  similarly situated,

                           Plaintiffs,
                                                               No. 1:18-cv-00719-CCR
            v.

  CITY OF BUFFALO, N.Y., et al.,

                           Defendants.


                             DECLARATION OF EBONY YELDON

       Ebony Yeldon declares, under penalty of perjury and pursuant to 28 U.S.C. § 1746:

       1.        My name is Ebony Yeldon. I am one of the Plaintiffs in this action.

       2.        I make this declaration in support of Plaintiffs’ Motion for Class Certification.

       3.        I am a Black resident of Buffalo, where I have lived my entire life.

       4.        I have worked as a school bus driver for Student Transportation Bus Company

and as a taxi driver for the Cold Spring Cab Company, driving in and around Buffalo.

       5.        I have been through at least two BPD Checkpoints in Buffalo’s East Side, but I

did not receive any tickets during these Checkpoint stops. The Checkpoints felt pointless and I

felt like they were racially discriminatory.

       6.        In December 2017 I was driving my taxi in a predominantly white neighborhood

on the South Side of Buffalo, when BPD Officer Michael Healy pulled me over and issued me

two tickets for tinted windows and one ticket for driving without insurance (even though the car

belonged to my employer, and I had insurance at the time).
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       7.      In the summer of 2022 BPD ticketed my car while it was parked in the BMHA-

owned parking lot of the Ferry Grider Apartments (also known as the “East Ferry Homes”).

When I went to court, the ticket was dismissed.

       8.      I believe the BPD Checkpoints operated in a discriminatory manner because I saw

them mostly in the East Side, a predominantly Black neighborhood.

       9.      I drive regularly in the City of Buffalo and plan to continue to do so.

       10.     I understand that this case is a proposed class action.

       11.     I am willing to serve as a representative for the Tinted Windows and Traffic

Enforcement Classes on behalf of myself and other people whose facts and circumstances are

similar to mine. I understand that the Tinted Windows Class is seeking monetary damages and

the Traffic Enforcement Class is seeking a court order declaring the City of Buffalo’s traffic

enforcement practices unlawful and ordering the City to change its practices.

       12.     I understand that as a class representative, I have a responsibility to participate

actively in the litigation. I am represented in this lawsuit by lawyers from the National Center for

Law and Economic Justice, the Center for Constitutional Rights, the Western New York Law

Center, and Covington & Burling LLP. Since joining this lawsuit, I have communicated

regularly with my counsel, kept informed of the progress of the case, reviewed and approved the

Complaint and Amended Complaint (primarily the paragraphs that describe my experiences),

participated in written discovery, sat for a deposition and talked with my counsel about what I

think a fair resolution of this case would be.

       13.     I understand that as a class representative I have a responsibility to protect the

interests of the entire class, not just my own interests, and to ensure that my counsel prosecutes
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the case vigorously and in the interest of all class members. I agree to fulfill my responsibilities

as a class representative.



Dated: May 28, 2024
